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                                                                 Mellon f/k/a The Bank of New York, as Trustee for
                                                             8   the Holders of the Certificates, First Horizon
                                                                 Mortgage Pass-Through Certificates Series
                                                             9   FHAMS 2006-AA6 and 2006-AA7, by First
                                                                 Horizon Home Loans, a Division of First
                                                            10   Tennessee Bank National Association, Master
                                                                 Servicer, in its Capacity as Agent for the Trustee
                                                            11   Under the Pooling and Servicing Agreement
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                                                            12
                                                                                             UNITED STATES DISTRICT COURT
                      LAS VEGAS, NEVADA 89134




                                                            13
AKERMAN LLP




                                                                                                    DISTRICT OF NEVADA
                                                            14

                                                            15   KIRK JOHNSON, an individual; GINA                    Case No.: 3:19-cv-00131-HDM-CLB
                                                                 JOHNSON,        an individual; JOHNSON
                                                            16   DEVELOPMENT LLC, a Nevada limited
                                                                 liability company,                                   ORDER GRANTING
                                                            17                                                        STIPULATION TO DISMISS ACTION WITH
                                                                               Plaintiffs,                            PREJUDICE (FRCP 41(a)(ii))
                                                            18
                                                                 v.
                                                            19
                                                                 THE BANK OF NEW YORK MELLON F/K/A
                                                            20   THE BANK OF NEW YORK, AS TRUSTEE
                                                                 FOR      THE        HOLDERS    OF    THE
                                                            21   CERTIFICATES,          FIRST     HORIZON
                                                                 MORTGAGE                   PASS-THROUGH
                                                            22   CERTIFICATES SERIES FHAMS 2006-AA6
                                                                 AND 2006-AA7, BY FIRST HORIZON HOME
                                                            23   LOANS, A DIVISION OF FIRST TENNESSEE
                                                                 BANK NATIONAL ASSOCIATION, MASTER
                                                            24   SERVICER, IN ITS CAPACITY AS AGENT
                                                                 FOR THE TRUSTEE UNDER THE POOLING
                                                            25   AND SERVICING AGREEMENT, and DOES I
                                                                 through X, inclusive,
                                                            26
                                                                               Defendants.
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                                                                    Case 3:19-cv-00131-HDM-CLB Document 56
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                                                             1            COME NOW, Plaintiffs Kirk and Gina Johnson and Johnson Development, LLC

                                                             2   (hereinafter, “Johnson”), and Defendant Bank of New York Mellon f/k/a the Bank of New York, as

                                                             3   Trustee for the Holders of the Certificates, First Horizon Mortgage Pass-through Certificates Series

                                                             4   FHAMS 2006-AA6 and 2006-AA7, by First Horizon Home Loans, a Division of First Tennessee

                                                             5   Bank National Association, Master Servicer, in its Capacity as Agent for the Trustee under the

                                                             6   Pooling and Servicing Agreement (hereinafter, “BoNYM”), by and through their attorneys of record,

                                                             7   and hereby stipulate and agree to dismiss the above action with prejudice pursuant to FRCP

                                                             8   41(A)(ii).
                                                             9            DATED October 15, 2020.

                                                            10
                                                                  THE LAW FIRM LLC                                AKERMAN LLP
                                                            11
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                                  /s/ Kelly R. Chase                              /s/ Melanie Morgan
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                                                            12
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                                                                  Attorney for Plaintiffs                         Las Vegas, Nevada 89134
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                                                                                                                  Attorneys for Defendant The Bank of New York
                                                            17                                                    Mellon f/k/a The Bank of New York, as Trustee for
                                                                                                                  the Holders of the Certificates, First Horizon
                                                            18                                                    Mortgage Pass-Through Certificates Series
                                                                                                                  FHAMS 2006-AA6 and 2006-AA7, by First
                                                            19
                                                                                                                  Horizon Home Loans, a Division of First
                                                            20                                                    Tennessee Bank National Association, Master
                                                                                                                  Servicer, in its Capacity as Agent for the Trustee
                                                            21                                                    Under the Pooling and Servicing Agreement
                                                            22

                                                            23            IT IS SO ORDERED

                                                            24

                                                            25                                                        UNITED STATES DISTRICT JUDGE
                                                            26                                                        Case No.: 3:19-cv-00131-HDM-CLB
                                                                        October 16
                                                                 Dated: __________________, 2020.
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